     Case 3:12-cr-00015-HDM-CLB   Document 132   Filed 06/01/17   Page 1 of 1



 1
 2
 3
 4
 5
 6
 7
 8                          UNITED STATES DISTRICT COURT
 9                                DISTRICT OF NEVADA
10
11    UNITED STATES OF AMERICA,         )          3:12-cr-00015-HDM-WGC
                                        )
12                   Plaintiff,         )
                                        )          ORDER
13                                      )
      vs.                               )
14                                      )
      RANDY MACARIO ANCHETA,            )
15                                      )
                     Defendant.         )
16    _________________________________ )
17         The defendant shall file a reply to the government’s response to
18    defendant’s motion to vacate, set aside or correct sentence               pursuant
19    to 28 U.S.C. § 2255 (ECF Nos. 123, 128) on or before July 3, 2017.
20         IT IS SO ORDERED.
21         DATED: This 1st day of June, 2017.
22
23                                 ____________________________
                                   UNITED STATES DISTRICT JUDGE
24
25
26
27
28

                                            1
